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                                                                                                                CENTRAL VALLEY OPERATIONS OFFICE
                                                                                                                    CHINOOK SALMON REPORT
                                                                                                                          MARCH 2021
            Note: Shaded area not verified with CDFW data         Preliminary Data - Subject to Change
                     Winter Run Chinook Salmon Estimated Loss (Incidental Take)                                               Spring Run Chinook Salmon Estimated Loss (Incidental Take)                                                          Pumping
               Daily SWP            Daily CVP           Daily Combined               Season Combined                   Daily SWP            Daily CVP           Daily Combined          Season Combined                         Daily Total                          Daily Total
 DATE        Tagged*   No Tag   Tagged*    No Tag     Tagged*        No Tag         Tagged*          No Tag          Tagged     No Tag   Tagged    No Tag      Tagged      No Tag       Tagged         No Tag                    In CFS                             In Acre Feet
            Estimated Estimated Estimated Estimated   Estimated     Estimated       Estimated       Estimated       Estimated Estimated Estimated Estimated   Estimated   Estimated    Estimated      Estimated
                                                                                                                                                                                                                      Banks       Tracy       Combined    Banks        Tracy       Combined
              Loss      Loss      Loss      Loss        Loss          Loss            Loss            Loss            Loss       Loss     Loss      Loss        Loss        Loss         Loss           Loss
 1-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0       853          971        1,824     1,691        1,926         3,617
 2-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0       411          815        1,226       815        1,617         2,432
 3-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0       406          818        1,224       805        1,623         2,428
 4-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0         0          412          412         0          817           817
 5-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0       291          400          692       578          794         1,372
 6-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0         0          429          429         0          851           851
 7-Mar-21          0         0         0        0            0                  0               4               0           0        0         0         0           0            0             0                 0       527          405          933     1,046          804         1,850
 8-Mar-21          0         0         0        4            0                  4               4               4           0        0         0         0           0            0             0                 0         0          822          822         0        1,631         1,631
 9-Mar-21          0         4         0        0            0                  4               4               8           4        0         3         0           7            0             7                 0     1,058          819        1,877     2,099        1,624         3,723
10-Mar-21          0         0         0        0            0                  0               4               8           4        0         0         0           4            0            11                 0       515          826        1,341     1,022        1,638         2,660
11-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0            11                 0       405          827        1,232       803        1,640         2,443
12-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0            11                 0         0          413          413         0          820           820
13-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0            11                 0         0          398          398         0          790           790
14-Mar-21          0         0         0        0            0                  0               4               8           0        0         3         0           3            0            14                 0         0          372          372         0          737           737
15-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0            14                 0     1,281          406        1,687     2,541          805         3,346
16-Mar-21          0         0         0        0            0                  0               4               8         22         0         8         0          30            0            44                 0     1,705          814        2,519     3,381        1,615         4,996
17-Mar-21          0         0         0        0            0                  0               4               8        177         0         0         0         177            0           221                 0     1,904          896        2,800     3,776        1,778         5,554
18-Mar-21          0         0         0        0            0                  0               4               8         52         0         0         0          52            0           273                 0     1,709          903        2,612     3,389        1,791         5,180
19-Mar-21          0         0         0        0            0                  0               4               8         39         0         0         0          39            0           312                 0       945          812        1,756     1,874        1,610         3,484
20-Mar-21          0         0         0        0            0                  0               4               8           0        0         7         0           7            0           319                 0       515          805        1,320     1,022        1,596         2,618
21-Mar-21          0         0         0        0            0                  0               4               8           0        0         7         0           7            0           326                 0         0          804          804         0        1,595         1,595
22-Mar-21          0         0         0        0            0                  0               4               8           0        0        27         0          27            0           353                 0       623          825        1,447     1,235        1,636         2,871
23-Mar-21          0         0         0        0            0                  0               4               8           0        0         7         0           7            0           360                 0         3          877          880         6        1,740         1,746
24-Mar-21          0         0         0        0            0                  0               4               8           0        0         4         0           4            0           364                 0       623          842        1,465     1,235        1,670         2,905
25-Mar-21          0         0         0        0            0                  0               4               8           0        0        14         0          14            0           378                 0         0          840          840         0        1,666         1,666
26-Mar-21          0         0         0        0            0                  0               4               8         13         0         7         0          20            0           398                 0       521          827        1,348     1,034        1,640         2,674
27-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0           398                 0         0          802          802         0        1,590         1,590
28-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0           398                 0       267          802        1,068       529        1,590         2,119
29-Mar-21          0         0         0        0            0                  0               4               8           0        0        16         3          16            3           414                 3         0          803          803         0        1,593         1,593
30-Mar-21          0         0         0        0            0                  0               4               8           0        0        11         0          11            0           425                 3       291          803        1,094       578        1,592         2,170
31-Mar-21          0         0         0        0            0                  0               4               8           0        0         0         0           0            0           425                 3       408          413          821       809          820         1,629
 Total             0         4         0        4            0                  8               4               8        311         0       114         3         425            3           425                 3    15,260       22,001       37,261    30,268       43,639        73,907
            Winter Run Incidental Take Levels (Oct 1 thru May 31)                                                   Spring Run Incidental Take Levels for Season Combined Total (Oct 1 thru Jun 30)
